 

Case 1:17-cv-02131-PGG-BCM Document 13-2 Filed 06/06/17 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

x

 

DAVID VAN ELZEN, individually and on
behalf of all others similarly situated,

Plaintiff,
v.
REVIMEDIA, INC., a Delaware Corporation,

Defendant.

 

x

 

Case No. 17-cv-02131-PGG

AFFIDAVIT IN SUPPORT OF
MOTION FOR ADMISSION
PRO HAC VICE

I, Patrick H. Peluso, on oath, submit the following Affidavit in support of my Motion for

Admission Pro Hac Vice.

1. Ihave never been convicted of a felony;

2. Ihave never been censured, suspended, disbarred, or denied admission or readmission

by any court;

3. There are no disciplinary proceedings presently against me;

4. There have never been any disciplinary proceedings against me in any court.

Further affiant sayeth not.

I declare under penalty of perjury that the foregoing is true and correct and that this

declaration was executed in the State of Colorado, on June 6, 2017.

Dated: June 6, 2017 By: Lie

Patrick H. Peluso

Woodrow & Peluso, LLC

3900 E. Mexico Avenue, Suite 300
Denver, CO 80210

Phone: (720) 213-0676

Email: ppeluso@woodrowpeluso.com
